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20                          UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
     PATRICK CALHOUN, et al., on behalf of Case No. 5:20-cv-05146-LHK
22   themselves and all others similarly situated,
                                                   GOOGLE LLC’S SUBMISSION                  IN
23                 Plaintiffs,                     RESPONSE TO DKT. 749
24          vs.
                                                   Judge: Hon. Susan van Keulen
25   GOOGLE LLC,
26                  Defendant.
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                                                                   Case No. 4:20-cv-05146-YGR-SVK
                                                GOOGLE LLC’S SUBMISSION IN RESPONSE TO DKT. 749
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 1   DATED: July 7, 2022               QUINN EMANUEL URQUHART & SULLIVAN,
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